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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


WILLIAM DEMLER,

                  Plaintiff,

v.                                               CASE NO. 4:19cv94-RH-GRJ

MARK S. INCH,

                  Defendant.

___________________________/


                               ORDER CERTIFYING A CLASS


         The plaintiffs in this proposed class action are prisoners in the Florida

Department of Corrections. They assert the Department violated the Constitution

by terminating a program under which prisoners acquired music and could listen to

it on personal MP3 players. The defendant is the Secretary of the Department in his

official capacity.

         At a hearing on April 15, 2020, the parties announced that they have reached

a settlement agreement, contingent upon certification of a class for settlement

purposes and, in due course, court approval of the settlement. The parties intend to

file a motion for approval of the settlement after certification of a class.



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         A class may be certified for settlement purposes only when a class could be

certified anyway, without a settlement, with this exception: case-management

issues that would interfere with contested proceedings—but not with

implementation of a settlement—are not disqualifying, even if they otherwise

would be. See Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997).

         Before certifying a class, a court must conduct a “rigorous analysis” under

Federal Rule of Civil Procedure 23. See, e.g., Vega v. T-Mobile USA, Inc., 564

F.3d 1256, 1266 (11th Cir. 2009). “Frequently that ‘rigorous analysis’ will entail

some overlap with the merits of the plaintiff’s underlying claim. That cannot be

helped.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011) (quoting Gen.

Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982)). The factual record, as

opposed to “sheer speculation,” must demonstrate that each Rule 23 requirement

has been met. Vega, 564 F.3d at 1267. The class must satisfy all the requirements

of Rule 23(a) and at least one of the requirements of Rule 23(b). See, e.g., Jackson

v. Motel 6 Multipurpose, Inc., 130 F.3d 999, 1005 (11th Cir. 1997).

         The party who moves to certify a class has the burden of establishing that

the Rule 23 elements are met. Vega, 564 F.3d at 1265. The Rule 23(a) elements are

commonly referred to as “numerosity, commonality, typicality, and adequacy of

representation.” Babineau v. Fed. Express Corp., 576 F.3d 1183, 1190 (11th Cir.




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2009) (quoting Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181, 1187-88

(11th Cir. 2003)).

         The numerosity element requires the class to be “so numerous that joinder of

all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “[W]hile there is no fixed

numerosity rule, ‘generally less than twenty-one is inadequate, more than forty

adequate, with numbers between varying according to other factors.” Cox v. Am.

Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986). “[A] plaintiff need not

show the precise number of members in the class.” Evans v. U.S. Pipe & Foundry

Co., 696 F.2d 925, 930 (11th Cir. 1983).

         The plaintiffs’ proposed class consists of prisoners who bought more than 75

songs through the now-abandoned MP3 program. Prisoners who bought 75 or

fewer songs have suffered no loss; the Department’s replacement program includes

credits that will allow those prisoners to replace the songs without cost. The record

shows that 11,418 prisoners bought the requisite number of songs. Some have been

released, but the number of class members is in the thousands—more than enough.

         Commonality requires that “there are questions of law or fact common to the

class.” Fed. R. Civ. P. 23(a)(2). The action “must involve issues that are

susceptible to class-wide proof.” Murray v. Auslander, 244 F.3d 807, 811 (11th

Cir. 2001). A common contention must be “capable of classwide resolution” such




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that “determination of its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke.” Dukes, 564 U.S. at 350.

         “What matters to class certification . . . is not the raising of common

questions—even in droves—but, rather the capacity of a classwide proceeding to

generate common answers apt to drive the resolution of the litigation.” Id. at 350

(emphasis in original) (quoting Richard A. Nagareda, Class Certification in the

Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)).

         This case meets this requirement. The plaintiffs’ claims and the defendant’s

defenses turn almost entirely on common questions with common answers. There

may be minor factual difference from one member of the class to another: some are

serving life, others terms of years; some had songs only on a personal MP3 player,

while others exceeded the MP3 player’s capacity and had additional songs stored

by the vendor. If these distinctions ultimately matter at all, it will be at the margins;

the most important issues are common. And even these distinctions can be

addressed through common answers.

         The typicality element requires that “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Fed. R.

Civ. P. 23(a)(3). The plaintiffs must “possess the same interest and suffer the same

injury as the class members.” Dukes, 564 U.S. at 348-49 (quoting E. Tex. Motor

Freight Sys., Inc. v. Rodriguez, 431 U.S. 395, 403 (1977)). The analysis here is



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similar to commonality. See Prado-Steinman v. Bush, 221 F.3d 1266, 1278-79

(11th Cir. 2000).

         This case meets this requirement. The named plaintiffs bought more than the

required number of songs and remain in the custody of the Department of

Corrections. Their claims are typical of the claims of class members.

         The final Rule 23(a) requirement is that the class representative “will fairly

and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This

encompasses two separate inquiries: whether any substantial conflicts of interest

exist between the representative and the class, and whether the representative will

adequately prosecute the action. See, e.g., Valley Drug Co. v. Geneva Pharm., Inc.,

350 F.3d 1181, 1189 (11th Cir. 2003). Class counsel also must be adequate. See

Fed. R. Civ. P. 23(g).

         The plaintiff William Demler’s history would make him an inadequate

single representative. See Order of Sept. 25, 2019, ECF No. 64. But the other two

plaintiffs, Michael Gisi and Wayne Pula, are adequate, and Mr. Demler can

adequately serve as a third class representative. The plaintiffs’ attorneys are

adequate class counsel. The adequacy requirement is satisfied.

         In sum, the plaintiffs have met the four Rule 23(a) prerequisites to class

certification.




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         Having done so, the plaintiffs must also meet one of the requirements of

Rule 23(b). Under Rule 23(b)(2), class treatment is appropriate when “the party

opposing the class has acted or refused to act on grounds that apply generally to the

class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

         This case presents the very paradigm of a proper (b)(2) class. The party

opposing the class—the Secretary on behalf of the Department of Corrections—

has refused to allow the class members to retain their access to songs under the

prior program and has refused to pay the class members or provide them access to

the same number of songs under the new program. If, as the plaintiffs claim, this is

unconstitutional, injunctive or declaratory relief will be appropriate respecting the

class as a whole.

         For these reasons,

         IT IS ORDERED:

         1. The plaintiffs’ motion to reconsider, ECF No. 105, is granted in part.

         2. A class is certified consisting of all current Florida Department of

Corrections prisoners whose digital media files were taken, or will be taken,

pursuant to the Department’s termination of the MP3 program, and who purchased

more than 75 songs through that program.




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         3. The named plaintiffs William Demler, Michael Gisi, and Wayne Pula are

the class representatives.

         4. Class counsel are Dante P. Trevisani and Ray Taseff of the Florida Justice

Institute and Shawn Heller and Joshua Glickman of the Social Justice Law

Collective.

         5. All deadlines that had not passed as of April 15, 2020, are extended 35

days. The trial is continued to a date that will be set if a settlement is not approved.

         6. The parties must file by May 14, 2020 a motion for preliminary approval

of their settlement. If they fail to do so, the case will be restored to the trial

calendar, with adequate advance notice.

         SO ORDERED on April 16, 2020.

                                   s/Robert L. Hinkle
                                   United States District Judge




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